     Case 3:14-cv-02899-B Document 1-2 Filed 08/13/14                  Page 1 of 18 PageID 7

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

Efrain Areizaga,                                   §
                                                   §
         Plaintiff,                                §
                                                   §
v.                                                 §
                                                     Civil Action No. 3:14-cv-2899
                                                   §
ADW Corporation,                                   §
                                                   §
         Defendant.                                §
                                                   §

                                INDEX OF STATE COURT FILINGS

                      Cause No. DC-15-07241; Efrain Areizaga v. ADW Corporation,
                        in the 95th Judicial District Court of Dallas County, Texas

                                  Date                      Description

                      1.       July 9, 2014        Request for Issuance of Citation

                      2.       July 9, 2014          Plaintiff’s Original Petition

                      3.       July 9, 2014            Case Filing Cover Sheet

                      4.      July 17, 2014      Note-Administrator (DWOP Notice)

                      5.      July 30, 2014         ADW Corporation – Citation

                      6.     August 28, 2014     Note-Administrator (DWOP Notice)




INDEX OF STATE COURT FILINGS                                                           SOLO PAGE
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                                                                                      EXHIBIT 2
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                                                                 EXHIBIT 2-1
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                                                                 EXHIBIT 2-1
Case 3:14-cv-02899-B Document 1-2 Filed 08/13/14                       Page 4 of 18 PageID 10
                                                                                   ORIGINAL
                                   JUL - 9 2014              SCANNE
                                        ()J;!<
                                   CAUSE NO. \ L{-      0 I .?- L\ \                        ' .9    '.
EFRAIN AREIZAGA,                                 §
                                                 §
                      Plaintiff,                 §
                                                 §
v.                                               §
                                                 §
ADW Corporation.                                 §
                                                 §

                                                          q ~ t'-"JUDICIAL DISTRICT
                      Defendant.                 §
                                                 §


                           PLAINTIFF'S ORIGINAL PETITION

        Plaintiff Efrain Areizaga brings this action against Defendant ADW, Inc. (in its assumed

or common name). Fair notice and intent to sue ADW Corp. was given to defendant prior to the

 filing of this suit pursuant to rule §2.3 of the Texas Rules of Civil Procedures. The causes of

 action and summary of claims relating thereto are addressed below:

                      I. DISCOVERY CONTROL PLAN AND RELIEF

        1. At this time, Plaintiff requests that discovery be conducted under Level III.

        2. Plaintiff requests that this matter be placed on the non-expedited discovery docket as

Plaintiff seeks monetary relief in excess of $200,000.00 but less than $1 ,000,000.00.

                        II. PARTIES, JURISDICTION AND VENUE

        3.     Plaintiff Efrain Areizaga ("Plaintiff' or "Areizaga") is currently a citizen and

resident of Dallas County in the State of Texas. In the three-year period preceding the filing of

 this action, Plaintiff was employed by Defendant within the meaning of the Fair Labor Standards

 Act, 29 U.S.C § 201 et. seq. ("FLSA"). At all times hereinafter mentioned, Plaintiff was an

individual employee who was engaged in commerce or in the production of goods for commerce

 as required by 29 U.S.C. §§ 206-207.




 PLAINTIFF'S ORIGINAL PETITION                                                      Page -1



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         4.    Defendant ADW, Inc. ("ADW" or "Defendant"), is a Texas Corporation

authorized to do and is doing business in Texas. Defendant is engaged in commerce or the

production of goods for commerce within the meaning of the FLSA, and is obligated to ensure

that all employees are paid in accordance with the FLSA. Defendant can be served with process

through its registered agent, Mark Sacra, located at 5821 Beverly Hill, Houston, Texas 77057.

         5.    This Court has jurisdiction over the claim because state courts have concurrent

jurisdiction with federal courts on cases filed under the Fair Labor Standards Act. 29 U.S.C

 §216(b). In addition, Plaintiffs damages are within the Court's jurisdictional limits.

         6.     Venue is proper in this Court pursuant to Texas Civil Practice and Remedies Code

 §15.002(a), because most of the actions giving rise to the lawsuit occurred in Dallas County,

Texas.

         7.     All conditions precedent have been performed or have occurred.

                                       III.   COVERAGE

         8.     At all material times, ADW has acted, directly or indirectly, in the interest of

itself with respect to Mr. Areizaga.

         9.     At all times hereinafter mentioned, ADW has been an employer within the

meaning of the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

         10.    At all times hereinafter mentioned, ADW has been an enterprise within the

meaning of Section 3(r) ofthe FLSA, 29 U.S.C. § 203(r).

         11.    At all times hereinafter mentioned, ADW has been an enterprise engaged in

 commerce or in the production of goods for commerce within the meaning of Section 3(s)(1) of

 the FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had employees engaging in

 commerce or in the production of goods for commerce, or employees handling, selling, or




 PLAINTIFF'S ORIGINAL PETITION                                                       Page- 2



                                                                                          EXHIBIT 2-2
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 otherwise working on goods or materials that have been moved in or produced for commerce by

 any person and in that said enterprise has had and has an annual gross volume of sales made or

business done of not less than $500,000 (exclusive of excise taxes at the retail level which are

 separately stated).

        12.     At all times hereinafter mentioned, Plaintiff was an individual employee who was

 engaged in commerce or in the production of goods for commerce as required by 29 U.S.C. §§

 206-207.

         13.    Plaintiff was employed by ADW within the applicable statute of limitations.

                               IV.     FACTUAL ALLEGATIONS

         14.    On or about May 11 , 2010 the defendant emailed the plaintiff an attachment with

 a written employment offer describing the plaintiffs title, duties, responsibilities and

 compensation package. At the time that the plaintiff received the defendant written employment

 offer the plaintiff was a resident of Tampa, Florida.

         15.    Plaintiff was an estimating manager while employed by Defendant. His primary

job duties included, but were not limited to: downloading plans, scheduling, performing take-offs

 of manufacturer's products utilizing Onscreen Takeoff Software, pricing manufacturer's

 products utilizing manufacturer's pricing software, insuring the delivery of quotes prepared by

 the Quote Department, calendaring deadlines and on occasions perform inside sales. The work

 Plaintiff did was routine and did not require the exercise of independent judgment or discretion.

 Plaintiff did not manage two or more full-time employees. Plaintiffs job did not require an

 advance degree in the field of science or learning. Likewise, Plaintiff did not make outside sales.




 PLAINTIFF' S ORIGINAL PETITION                                                      Page- 3



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        16.     During the plaintiffs employment the defendant provide the plaintiff with the

capabilities to work from home via a virtual private network and emails delivered to plaintiffs

smart phone via the defendant's exchange server.

        17.     Plaintiff regularly worked in excess of 40 hours a week.

        18.     Defendant did not pay Plaintiff time-and-one-half his regular rate of pay for the

hours that he worked over 40 hours per week. Instead, Plaintiff was paid the same salary,

regardless ofhow many hours he worked. In short, Plaintiff was misclassified as exempt.

         19.    Defendant knowingly, willfully, and/or with reckless disregard carried out its

illegal pattern and/or practice of failing to pay overtime compensation with respect to Plaintiff.

        20.     In addition, Defendant failed to compensate all monies earned during his

 employment. According to parties' employment agreement, Plaintiff was to be compensated

 commissions in addition to a salary. The agreement specifically states, "[i]n addition to the

 salary above you will earn 10% gross profit generate on orders you secured as a result of inside

 sales calls that you handle." To date, Defendant has not paid Plaintiff all commissions earned.

                                         V.   CAUSES OF ACTION

                          A. FAILURE TO PAY WAGES IN
               ACCORDANCE WITH THE FAIR LABOR STANDARDS ACT

        21.     Plaintiff realleges and incorporates the allegations contained in Paragraphs 1

 through 20 as if fully stated herein.

        22.     During the relevant period, Defendant violated the provisions of Sections 7 of the

 FLSA, 29 U.S.C. §§ 207 and 215(a)(2), by employing employees in an enterprise engaged in

 commerce or in the production of goods for commerce within the meaning of the FLSA as

 aforesaid, for workweeks longer than 40 hours, without compensating such employees for their

 work in excess of forty hours per week at rates no less than one-and-a-half times the regular rates



 PLAINTIFF'S ORIGINAL PETITION                                                       Page- 4



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 for which they were employed.           Defendant acted willfully by failing to pay Plaintiff in

 accordance with the law.

                                         B. BREACH OF CONTRACT

        23.     Plaintiff realleges and incorporates the allegations contained in Paragraphs 1

 through 20 as if fully stated herein.

        24.     Plaintiff entered into a valid, enforceable contract with Defendant on or about

 May 11, 201 0 to work for Defendant as an estimating manager as specified in Plaintiffs

 contractual employment agreement.

        25.     Plaintiff performed his contractual obligations.

        26.     Defendant breached the contract by failing to pay Plaintiff earned commissions

 and failing to provide plaintiff inside sales calls as specified in the Plaintiffs employment

 contractual agreement.

        27.     Defendant's breaches caused Plaintiff injury.

                                          C. QUANTUM MERUIT

        28.     Plaintiff realleges and incorporates the allegations contained in Paragraphs 1

 through 20 as if fully stated herein.

        29.     Plaintiff provided valuable services to Defendant by working as an estimating

 manager and made inside sales for Defendant.

        30.     Defendant accepted these services.

         31.    Defendant had reasonable notice that Plaintiff expected compensation for the

 services and expected the opportunity to make commissions from inside sales calls as specified

 in the Plaintiffs employment agreement.

         32.    Defendant failed to compensate Plaintiff for commissions earned.




 PLAINTIFF'S ORIGINAL PETITION                                                     Page- 5



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                                         D. PROMISSORY ESTOPPEL

        33.     Plaintiff realleges and incorporates the allegations contained in Paragraphs 1

 through 20 as if fully stated herein.

        34.     Defendant made a promise to Plaintiff to pay commissions earned and promised

 to provide Plaintiff the opportunity to make commission from inside sales calls in exchange for

 Defendant's performance as an estimating manager as specified in the Plaintiffs employment

 agreement.

         35.    Plaintiff reasonably and substantially relied on this promise to his detriment by

 performing work for Defendant.

         36.    Plaintiffs reliance was foreseeable by Defendant.

         37.    Injustice can only be avoided by enforcing Defendant's promise to Plaintiff.

                                    E. FRAUDULENT INDUCEMENT

         38.    Plaintiff realleges and incorporates the allegations contained in Paragraphs 1

 through 20 as if fully stated herein.

         39.    Plaintiff entered into a valid, enforceable contract with Defendant on or about

 May 11, 2010 to work for Defendant as an estimating manager as specified in Plaintiffs

 employment contractual agreement.

        40.     The Defendant made material representations m Plaintiffs employment

 contractual agreement.

        41.     The representations were material and false.

        42.     When the Defendant made the representations, the Defendant knew that the

 representations were false or made the representations recklessly, as a positive assertion and

 without knowledge of its truth.




 PLAINTIFF'S ORIGINAL PETITION                                                      Page- 6



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        43.     The Defendant made the representations with the intent that the plaintiff act on it.

        44.     The Plaintiff relied on the representations.

        45.     Defendant's false representations directly and proximately caused injury to

 Plaintiff which resulted in the following damages; loss of commissions for Defendant' s refusal to

 provide Plaintiff with inside sales calls and loss of income for non-paid overtime wages for 3

 years of employment.

        46.     Plaintiff seeks damages within the jurisdictional limits of this court.

        47.     Plaintiffs injury resulted from defendant's actual fraud or malice which entitles

 Plaintiff to exemplary damages under Texas Civil Practice and Remedies Code section

 41.003(a).

                           F. FRADULENT MISREPRESENTATION

        48.     Plaintiff realleges and incorporates the allegations contained in Paragraphs 1

 through 20 as if fully stated herein.

        49.     Plaintiff realleges and incorporates the allegations contained in Paragraphs 40

 through 47 as if fully stated herein.

                           G. NEGLIGENT MISREPRESENTATION

        50.     Plaintiff realleges and incorporates the allegations contained in Paragraphs 1

 through 20 as if fully stated herein.

        51.     The Defendant made representations to the Plaintiff in the course of the

 Defendant's business or in a transaction in which the defendant had an interest, as specified in

 Plaintiffs employment agreement.

         52.    The Defendant supplied the false information for the guidance of others.




 PLAINTIFF'S ORIGINAL PETITION                                                            Page -7



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        53.     The Defendant did not exercise reasonable care or competence in obtaining or

 communicating this information.

        54.     The Plaintiff justifiably relied on the representations.

        55.     The Defendant's negligent misrepresentations proximately caused the plaintiffs

 injury which resulted in the following damages; loss of commissions for Defendant's refusal to

 provide Plaintiff with inside sales calls and loss of income for non-paid overtime wages for 3

 years of employment.

        56.     Plaintiff seeks damages within the jurisdictional limits of this court.

        57.     Plaintiffs injury resulted from defendant's gross negligence which entitles

 Plaintiff to exemplary damages under Texas Civil Practice and Remedies Code section

 41.003(a).

                                VI.     JURY DEMAND

        58.     Plaintiff requests trial by jury.


                     VII. REQUESTS FOR DISCLOSURE TO DEFENDANT

        59.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant is

 requested to disclose to Plaintiff, within fifty (50) days of service of this request, the information

 or material described in Rule 194.2 (a) - (k), to be produced to the plaintiff located at 2730 Oak

 Tree Drive, Unit #2108, Carrollton, Texas 75006.

                                        VIII. PRAYER

        60.     WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

                a.      For an Order pursuant to Section 16(b) of the FLSA finding Defendant

                        liable for unpaid back wages due to Plaintiff, and for liquidated damages

                        equal in amount to the unpaid compensation found due to Plaintiff;


 PLAINTIFF'S ORIGINAL PETITION                                                            Page- 8



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             b.    For an Order finding the defendant's conduct to be willful and grant the

                   Plaintiff a 3 year extension of the statues of limitations pursuant to 29

                   U.S.C. §§255(a) of the FLSA;

             c.    For an Order awarding Plaintiff actual damages;

             d.    For an Order awarding reliance damages;

             e.    For an Order awarding expectation damages;

             f.    For an Order awarding direct and consequential damages;

             g.    For an Order awarding exemplary/punitive damages;

             h.    For an Order awarding Plaintiff the costs of this action;

             1.    For an Order awarding Plaintiff attorney's fees;

            J.     For an Order awarding Plaintiff expert witness fees;

             k.    For and Order awarding Plaintiff pre-judgment and post-judgment interest

                   at the highest rates allowed by law; and

             1.    For an Order granting such other and further relief as may be necessary

                   and appropriate.



                                          Respectfully submitted,
                                          Efrain Areizaga, Pro Se


                                          By:__..~
                                                 ~---­
                                          Efrain Areizaga, Pro Se
                                          2730 Oak Tree Drive, Unit# 2108
                                          Carrollton, TX 75006
                                          Telephone: (974) 878-3827
                                          areizaga@mail.com




 PLAINTIFF'S ORIGINAL PETITION                                                 Page- 9



                                                                                  EXHIBIT 2-2
        Case 3:14-cv-02899-B Document 1-2 Filed 08/13/14                                                                               Page 13 of 18 PageID 19
                                                                  CIVIL CASE INFORMATION SHEET                                                SCANNED                                ~
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A civil case infonnation sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The infonnation should be the best available at
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2. Indicate case type., or identify the most important issue in the case (select only 1):                                                                                 .L f;-~
                                                      Civil                                                                                               Family Law
                                                                                                                                                                    Post-judgment Actions
             Contract                      Injury or Damage                          Real Property                            Marriage Relationship                    (non-Title IV-D)
Debt/Contract                         0 Assault/Battery                         0 Eminent Domain/                            0Annulment                           0Enforcement
  0Consumer/DTP A                     0Construction                               Condemnation                               0Declare Marriage Void               0Modificatioo--Custody
  D Debt/Contract                     0Defamation                               0Partition                                   Divorce                              0Modification-Other
  D Fraud/Misrepresentation           Malpractice                               OQuiet Title                                     0With Children                           Title IV-D
  00ther Debt/Contract:                  0 Accounting                           0Trespass to Try Title                           0No Children                     0Enforcement/Modification
                                         O I..egal                              00ther Property:                                                                  0Paternity
Foreclosure                              0Medical                                                                                                                 0Reciprocals (UIFSA)
  0Home Equity- Expedited                OOther Professional                                                                                                      0Support Order
  OOther Foreclosure                       Liability:
0 Franchise                                                                        Related to Criminal
0 Insurance                           0Motor Vehicle Accident                            Matten                                 Other Family Law                   Parent-Child Relationship
OLand lord/Tenant                     0Premises                                 0Expunction                                   0Enforce Foreign                    0Adoption/Adoption with
O Non-Competition                     Product Liability                         0Judgment Nisi                                  Judgment                            Termination
0Partnership                             0 Asbestos/Silica                      0 Non-Disclosure                              0Habeas Corpus                      0Child Protection
00ther Contract:                         OOther Product Liability               0 Seizure/Forfeiture                          O Narne Change                      0Child Support
                                           List Product:                        0Writ of Habeas Corpus-                       0Protective Order                   0Custody or Visitation
                                                                                  Pre-indictment                              0 Removal of Disabilities           0Gestational Parenting
                                      00ther Injury or Damage:                  OOther:                                         of Minority                       0Grandparent Access
                                                                                                                              OOther:                             0Parentage/Paternity
                                                                                                                                                                  0Tennination of Parental
           Employment                                                Other Civil                                                                                    Rights
                                                                                                                                                                  00ther Parent-Child:
D Discrimination                        0 Administrative Appeal              0 Lawyer Discipline
0Retaliation                            0Antitrust/Unfair                    0Perpetuate Testimony
0 Termination                             Competition                        0Securities/Stock
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            Tax                                                                                   Probate & Mental Health
 0Tax Appraisal                         Probate/Wills/Intestate Administration                                       0Guardianship-Adult
 0Tax Delinquency                          0Dependent Administration                                                 0Guardianship-Minor
 OOtherTax                                 0 Independent Administration                                              OMental Health
                                           OOther Estate Proceedings                                                 Oother:

3. Indicate procedure or remedy, if applicable (may select more than 1):
 !:::)Appeal from Municipal or Justice Court                QDeclaratory Judgment                                  QPrejudgment Remedy
 O Arbitration-related                                      0Garnishment                                           0Protective Order
 0 Attachment                                               0 Interpleader                                         0Receiver
 0Bill of Review                                            0License                                               0 Sequestration
 0 Certiorari                                               0Mandamus                                              0Temporary Restraining Order/Injunction
 0 Ciass Action                                             0Post-judgment                                         0Turnover
4. Indicate damages sought (do not select ifit is a fami/1'_/ow case):
 g Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 0 Less than $ 100,000 and non-monetary relief
 DOver $100, 000 but not more than $200,000
 IKI.Over $200,000 but not more than $1 ,000,000
 DOver $1 ,000,000
                                                                                                                                                                                         Rev 2/13
                                                                                                                                                                     EXHIBIT 2-3
Case 3:14-cv-02899-B Document 1-2 Filed 08/13/14                        Page 14 of 18 PageID 20




                                           KEN MOLBERG
                                  JUDGE, 95TH DISTRICT COURT
                             GEORGE L. ALLEN, SR. COURTS BUILDING
                               600 COMMERCE STREET, 6TH FLOOR
                                    DALLAS, TEXAS 75202-4604

                                              July 17, 2014




   EFRAIN AREIZAGA
   2730 OAK TREE DR UNIT 2108
   CARROLLTON TX 75006

                   Re:      DC-14-07241-D;
                            EFRAIN ARE/ZAGA vs.
                            ADW CORPORA T/ON

                                         NOTICE OF HEARING

   The above-referenced cause is set for dismissal for want of prosecution on:

                                     August 28, 2014, at 8:30a.m.

   in the 95th District Court, Dallas County, Texas.

   If you have not perfected service on all parties prior to the dismissal date you must appear the
   dismissal hearing. During the hearing you will have the opportunity to show good cause for
   maintaining the case on the docket. At the dismissal hearing the court shall dismiss for want
   of prosecution unless there is a showing of good cause.

   If you have perfected service and no answer has been timely filed, you must have moved for or
   have proved up a default judgment on or prior to the above date. Failure to do so prior to the
   dismissal hearing will result in the dismissal of the case on the above date, time and place.
   Failure to appear at this hearing shall result in dismissal of this case for want of
   prosecution.

   Please contact the 95th District Court Administrator, Karin Alonzo, at (214} 653-6361, with any
   questions. Thank you for your cooperation with our efforts to better manage the docket of this
   Court.

   Due to the high volume of cases set of the dismissal docket, the Court requests that you
   call no earlier than one week prior to the above setting to report the status of this cause.




                                                                                            EXHIBIT 2-4
 Case 3:14-cv-02899-B Document 1-2 Filed 08/13/14                                    Page 15 of 18 PageID 21
                                                                                                                                    FILED
                                                                                                                        DALLAS COUNTY
                                                                                     Dianne Coffey                  7/30/2014 12:04:25 PM
                                                                                                                      GARY FITZSIMMONS
                                                                                                                          DISTRICT CLERK


                                              CAUSE NO. DC-14-07241

EFRAIN AREIZAGA,                                            §                                  IN THE DISTRICT COURT OF
                                                            §
                         Plaintiff,                         §
vs.                                                         §                                     DALLAS COUNTY, TEXAS
                                                            §
ADW CORPORATION,                                            §
                                                            §
                       Defendant.                           §                                     95TH JUDICIAL DISTRICT


                                               AEEIPAVIT OF SERVICE

On this day personally appeared Willtamj Kesman who, being by me duly sworn, deposed and said:

..The following came to hand on july 11,2014,3:40 PM,

                                                       CITATION
                                            PLAINTIFF•s ORIGINAL PETITION,

and was executed at 5821 BEVERLY HILL ST., HOUSTON, TX77057 within the County of HARRIS at04:18 PM onjuly28,
2014, by delivering a true copy to the within named

                    ADW CORPORATION BY DELIVERING TO ITS REGISTERED AGENT MARK SACRA,

In person, having first endorsed the date of delivery on same.

I am a person over eighteen (18) years of age and I am competent to make this affidavit. I am a resident of the State of
Texas. I am fa milia r with the Texas Rules of Civil Procedure as they apply to service of Process. I am not a party to this
suit nor related or affiliated with any herein, and have no interest in the outcome of the suit I have never been convicted
of a felony or of a misdemeanor involving moral turpitude. I have personal knowledge of the facts stated herein and they
are true and correct. ..




                                                                Williamj Kesman
                                                                SCH 9872 EXP. 8/31/2015
                                                                Harris County, Texas


BEFORE ME, a Notary Public, on this day personally appeared Williamj Kesman, known to me to be the person whose
name is subscribed to the foregoing document and, being by me first duly sworn, declared that the statements therein
contained are within his or her personal knowledge and are true and correct.

SUBSCRIBED AND SWORN TO ME ON JULY 29,2014




                                                                                                           EXHIBIT 2-5
                          Case 3:14-cv-02899-B Document 1-2 Filed 08/13/14                                 Page 16 of 18 PageID 22



      .•
•·'
           FORM NO. 353-3- CITATION                                                                                                    ATTY
           THE STATE OF TEXAS
                                                                                                                               CITATION
           To:
                   ADW CORPORATION
                   SERVE REGISTERED AGENT MARK SACRA
                   5821 BEVERLY HILL                                                                                           DC-14-07241
                   HOUSTON TX 77057

           GREETINGS:                                                                                                          EFRAIN AREIZAGA
           You have been sued. You may employ an attorney. If you or your attorney do not file a written                              vs.
           answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
                                                                                                                              ADW CORPORATION
           expiration of twenty days after you were served this citation and petition, a default judgment may be
           taken against you. Your answer should be addressed to the clerk of the 95th District Court at 600
           Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                  ISSUED THIS
           Said P1aintiffbeing EFRAIN AREIZAGA                                                                                 9th day of July, 2014

           Filed in said Court 9th day of July, 2014 against                                                                 GARY FITZSIMMONS
                                                                                                                              Clerk District Courts,
           ADW CORPORATION                                                                                                    Dallas County, Texas·

           For Suit, said suit being numbered DC-14-07241, the nature of which demand is as follows:
           Suit on OTHER CONTRACT etc. as shown on said petition REQUEST FOR DISCLOSURE,                                 By: ANGELICA HERNANDEZ, Deputy
           a copy of which accompanies this citation. If this citation is not served, it shall be returned unexecuted.

           WITNESS: GARY FITZSIMMONS, Clerk of the District Courts of Dallas, County Texas.
           Given under my hand and the Seal of said Court at office this 9th day of July, 2014.
                                                                                                                              Attorney for Plaintiff
                                                                                                                               EFRAIN AREIZAGA
           ATTEST: GARY FITZSIMMONS, Clerk ofthe District Courts of Dallas, County, Texas                                           PROSE
                                                                                                                          2730 OAK TREE DR UNIT 2108
                                    By_ _ _ _         ___w[L~~------:' Deputy                                               CARROLLTON TX 75006
                                          ANGELICA HERNANDEZ                                                                      974-878-3827



                                                 AFFIDAVIT
                                                 ATTACHED
                                                                                                                                              EXHIBIT 2-5
                        Case 3:14-cv-02899-B Document 1-2 Filed 08/13/14                                                 Page 17 of 18 PageID 23



...
                                                                             OFFICER'S RETURN
      Case No.: DC-14-07241

      Court No. 95th District Court
      Style: EFRAIN AREIZAGA
      vs.

      ADW CORPORATION


      Came to hand on the _ _ _ _ _ _ _day of _ _ _ _ _ _ _ _, 20_ _ ___, at _ _ _ _o'clock._ _ _ _.M. Executed a t - - - - - - - - - - - - - "
      within the County of _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ o'clock _ _ _ .M. on the _ _ _ _ _ _ _day of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      20_ _ _ _ ____; by delivering to the within n a m e d - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


      each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
      me in serving such process was _ _ _ _miles and my fees are as follows: To certify which witness my hand.



                                      For serving Citation        $_ _ _ _

                                      For mileage                  $ _ _ __                      of_ _ _ _ _ _ _ _County, - - - - - - - -
                                      For Notary                   $_ _ __                       By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Deputy

                                                                     (Must be verified if served outside the State ofTexas.)
      Signed and sworn to by the said_ _ _ _ _ _ _ _ _ _ _before me this_ _ _day of _ _ _ _ _ _ _ _                            ___c,   20_ __

      to certify which witness my hand and seal of office.




                                                                                                Notary Public_ _ _ _ _ _ _ _County_ _ _ _ _ __
                                      AFFIDAVIT
                                      ATTACHED


                                                                                                                                                                                EXHIBIT 2-5
Case 3:14-cv-02899-B Document 1-2 Filed 08/13/14                        Page 18 of 18 PageID 24




                                           KEN MOLBERG
                                  JUDGE, 95TH DISTRICT COURT
                             GEORGE L. ALLEN, SR. COURTS BUILDING
                               600 COMMERCE STREET, 6TH FLOOR
                                    DALLAS, TEXAS 75202-4604

                                              July 17, 2014




   EFRAIN AREIZAGA
   2730 OAK TREE DR UNIT 2108
   CARROLLTON TX 75006

                   Re:      DC-14-07241-D;
                            EFRAIN ARE/ZAGA vs.
                            ADW CORPORA T/ON

                                         NOTICE OF HEARING

   The above-referenced cause is set for dismissal for want of prosecution on:

                                     August 28, 2014, at 8:30a.m.

   in the 95th District Court, Dallas County, Texas.

   If you have not perfected service on all parties prior to the dismissal date you must appear the
   dismissal hearing. During the hearing you will have the opportunity to show good cause for
   maintaining the case on the docket. At the dismissal hearing the court shall dismiss for want
   of prosecution unless there is a showing of good cause.

   If you have perfected service and no answer has been timely filed, you must have moved for or
   have proved up a default judgment on or prior to the above date. Failure to do so prior to the
   dismissal hearing will result in the dismissal of the case on the above date, time and place.
   Failure to appear at this hearing shall result in dismissal of this case for want of
   prosecution.

   Please contact the 95th District Court Administrator, Karin Alonzo, at (214} 653-6361, with any
   questions. Thank you for your cooperation with our efforts to better manage the docket of this
   Court.

   Due to the high volume of cases set of the dismissal docket, the Court requests that you
   call no earlier than one week prior to the above setting to report the status of this cause.




                                                                                            EXHIBIT 2-6
